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TO:          Howard Milstein/Edward Milstein/Michael Milstein
FROM:        Oneeka Williams
CC.          Amy Gould, Tony Bergamo, Steve Dolnick, Lorraine Doyle, Anna Seddio, Alva Acosta, Steve Rossi,
             Clive Spagnoli, Angela Vigorito, Vernon Jefferson, Jeff Epstein, Cynthia Howard, Jeff Pirkl, Michael Benedetti
DATE:        July 23, 2013


                                          LEGAL ACTION UPDATE REPORT


                                                AMOUNT         # OF MONTHS           CURRENT
APT          TENANT                             SUED FOR         SUED FOR           O/S RENT       STATUS




200 RECTOR PLACE -

37D     DA   STEWART                             $10,225             3               $10,225       THREE DAY NOTICE SERVED - TENANT VACATED UNIT




                                                                                                                                                   LD000120
